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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

DOUGLAS SCHROEDER,
individually and on behalf
of all others similarly situated,

      Plaintiff,
v.                                    Case No.: 8:22-cv-1315-MSS-AEP

AIRGAS USA, LLC,

    Defendant.
______________________/

           PLAINTIFF’S CERTIFICATE OF INTERESTED
       PERSONS AND CORPORATE DISCLOSURE STATEMENT

      Plaintiff, DOUGLAS SCHROEDER, individually and on behalf of all

others similarly situated, hereby discloses the following pursuant to Rule 3.03:

      1.    The name of each person, including each lawyer, association, firm,

partnership, corporation, limited liability company, subsidiary, conglomerate,

affiliate, member, and other identifiable and related legal entity that has or might

have an interest in the outcome:

            Douglas Schroeder – Plaintiff
            Brandon J. Hill – Attorney for Plaintiff
            Luis A. Cabassa – Attorney for Plaintiff
            Wenzel Fenton Cabassa, P.A. – Counsel for Plaintiff
            Airgas USA, LLC – Defendant
            Amy L. Bashore – Attorney for Defendant
            Airgas, Inc. – Counsel for Defendant
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      2.     The name of each entity with publicly traded shares or debt

potentially affected by the outcome: None.

      3.     The name of every other entity that is likely to actively participate,

including in a bankruptcy proceeding the debtor and each member of the

creditor’s committee: None.

      4.     The name of each victim (individual or corporate) of civil and

criminal conduct alleged to be wrongful in these proceedings, including every

person who may be entitled to restitution: Douglas Schroeder.

      I certify that, except as disclosed, I am unaware of an actual or potential

conflict of interest affecting the district judge or the magistrate judge in this

action, and I will immediately notify the judge in writing within fourteen days

after I know of a conflict.

      Dated this 9th day of June, 2022.

                                      Respectfully submitted,


                                      /s/ Brandon J. Hill
                                      BRANDON J. HILL
                                      Florida Bar Number: 0037061
                                      LUIS A. CABASSA, P.A.
                                      Florida Bar Number: 0053643
                                      WENZEL FENTON CABASSA, P.A.
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                                      Email: lcabassa@wfclaw.com
                                      Attorneys for Plaintiff

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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 9th day of June, 2022, the foregoing

was electronically filed with the Clerk of Court via the CM/ECF system. I further

certify that a true and correct copy of the foregoing document will be served with

the Complaint.

                                     /s/ Brandon J. Hill
                                     BRANDON J. HILL




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